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          UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
                           Appeal Information Sheet

                United States District Court for the Northern District of California


WAYMO LLC v. UBER TECHNOLOGIES, INC., et al.

PLAINTIFF(S)                                        DEFENDANT(S)


(List all parties. Use asterisk to indicate dismissed or withdrawn parties. Use separate sheet if
needed. Explain any discrepancy with caption used on judgment, order or opinion.)

Type of case: Civil (Patent)

Docket No. 17-939 WHA                              Date of Judgment/Order: June 27, 2017

Cross or related appeal? << Enter text here >> Date of Notice of Appeal: June 29, 2017

Appellant is:             ( ) Plaintiff            ( ) Defendant         ( x ) Other (explain)
Non Party

DOCKET FEE STATUS:
( x ) Paid   ( ) Not Paid             Billed On:

U.S. Appeal?       Yes ( x )          No ( )

In forma pauperis?
( ) Granted       ( ) Denied          ( ) Revoked          ( ) Pending        ( x ) Never
requested


COUNSEL (List name, firm, address and telephone of lead counsel for each party. Indicate
party represented.): for Non Party Anthony Levandowski
Attorney Ismail Ramsey izzy@ramsey-ehrlich.com
Ramsy & Ehrlich LLP
803 Hearst Avenue
Berkeley, CA 94710
510 548-3600




IMPORTANT: Attach copy of opinion or order appealed from. Forward together with copy of
notice of appeal and certified docket entries
      Case 3:17-cv-00939-WHA Document 765-1 Filed 06/29/17 Page 2 of 2




COURT REPORTER: (Name and telephone)

Jo Ann Bryce 510 910-5888




IMPORTANT: Attach copy of opinion or order appealed from. Forward together with copy of
notice of appeal and certified docket entries
